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                    6     Attorneys for Plaintiff, Roger McIntosh dba McIntosh
                          & Associates
                    7
                    8                                 UNITED STATES DISTRICT COURT
                    9                     EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                  10
                  11
                           ROGER McINTOSH,                                       Case No. 1:07-CV- 01080 LJO-GSA
                  12
                                                 Plaintiff,                      CHART ATTACHED TO
                  13                                                             DECLARATION OF JEFFREY A.
                           v.                                                    TRAVIS IN SUPPORT OF OPPOSITION
                  14                                                             TO MOTION TO ALTER/AMEND
                           NORTHERN CALIFORNIA UNIVERSAL
                  15       ENTERPRISES COMPANY, a California
                           corporation; LOTUS DEVELOPMENTS,
                  16       LLP; THE CITY OF WASCO, a municipal
                           corporation; DEWALT CM, INC., a California
                  17       corporation also doing business as DEWALT
                           CORPORATION; and DOES 1 through 10,
                  18       inclusive

                  19                             Defendants.

                  20
                  21       CITY OF WASCO,

                  22                      Cross-Complaint,

                  23              vs.

                  24       NORTHERN CALIFORNIA UNIVERSAL
                           ENTERPRISES COMPANY, INC.,
                  25
                                          Cross-Defendant.
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McIntosh v.
Northern\CHART FOR DCL                                                 1
OF JAT ISO PLTFS
OPP.wpd                                                             CHART ATTACHED TO DECLARATION OF JAT
                          Case 1:07-cv-01080-LJO-GSA Document 397-5 Filed 07/02/10 Page 2 of 5


                    1                    Attached hereto is a table that correlates each trial exhibit attached to the Declaration
                    2     of Jeffrey A. Travis, and referenced directly in Plaintiff’s Opposition to Northern, Lotus’s, and
                    3     DeWalt’s Motions, with its corresponding authenticating paragraph and declaration exhibit number.
                    4     For example, Trial Exhibit J-16 referenced in the opposition, is authenticated by Par. 11 of the
                    5     Declaration and can be found as Exhibit 42 attached to the Declaration:
                    6       TRIAL EXHIBIT                                     DECLARATION
                    7       P-108                                             Exhibit 1, par. 3
                    8       P-112                                             Exhibit 2, par. 4
                    9       P-113                                             Exhibit 3, par. 5

                  10        P-114                                             Exhibit 4, par. 6
                            P-115                                             Exhibit 5, par. 7
                  11
                            D-217                                             Exhibit 6, par. 8
                  12
                            J-1                                               Exhibit 7, par. 9
                  13
                            J-3                                               Exhibit 8, par. 10
                  14        J-4                                               Exhibit 9, par. 11
                  15        J-8, pages 224 - 230                              Exhibit 10, par. 12
                  16        J-10                                              Exhibit 11, par. 13
                  17        J-16                                              Exhibit 12, par. 14

                  18        J-18                                              Exhibit 13, par. 15
                            J-19, page 4 - 5                                  Exhibit 14, par. 16
                  19
                            J-24                                              Exhibit 15, par. 17
                  20
                            J-32                                              Exhibit 16, par. 18
                  21
                            J-41                                              Exhibit 17, par. 19
                  22        J-44                                              Exhibit 18, par. 20
                  23        J-46                                              Exhibit 19, par. 21
                  24        J-47                                              Exhibit 20, par. 22
                  25        J-48                                              Exhibit 21, par. 23

                  26        J-49                                              Exhibit 22, par. 24
                            J-50                                              Exhibit 23, par. 25
                  27
                            J-53                                              Exhibit 24, par. 26
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McIntosh v.
Northern\CHART FOR DCL                                                    2
OF JAT ISO PLTFS
OPP.wpd                                                                CHART ATTACHED TO DECLARATION OF JAT
                          Case 1:07-cv-01080-LJO-GSA Document 397-5 Filed 07/02/10 Page 3 of 5


                    1       TRIAL EXHIBIT                                   DECLARATION
                    2       J-54                                            Exhibit 25, par. 27
                    3       J-55                                            Exhibit 26, par. 28
                    4       J-56                                            Exhibit 27, par. 29

                    5       J-57                                            Exhibit 28, par. 30
                            J-58                                            Exhibit 29, par. 31
                    6
                            J-59                                            Exhibit 30, par. 32
                    7
                            J-60                                            Exhibit 31, par. 33
                    8
                            J-73                                            Exhibit 32, par. 34
                    9       J-87                                            Exhibit 33, par. 35
                  10        J-133                                           Exhibit 34, par. 36
                  11        J-134                                           Exhibit 35, par. 37
                  12        J-135                                           Exhibit 36, par. 38

                  13        Special Jury Instructions Nos. 32 and 34,       Exhibit 37, par. 39

                  14        filed as Document No. 320
                            Plaintiff's Third Amended Complaint             Exhibit 38, par. 40
                  15
                            filed as Document No. 76.
                  16
                            Summary Judgment/Adjudication Order,            Exhibit 39, par. 41
                  17
                            page 28, filed as Document No. 186
                  18
                            Jointly Proposed Jury Instructions              Exhibit 40, par. 42
                  19
                            Instruction nos. 17.0 and 17.20
                  20
                            filed as Document No. 259,
                  21
                            Jointly Proposed Verdict Form, Nos. 19 - 24     Exhibit 41, par. 43
                  22
                            filed as Document No. 299
                  23        Jury Verdict, Nos. 17 - 22, and 32 - 33,        Exhibit 42 par. 44
                  24        filed as Document No. 328
                  25        Trial Transcript, (Relevant portions            Exhibit 43, par. 45
                  26        underlined and ordered chronologically)
                  27      ///
                  28      ///

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McIntosh v.
Northern\CHART FOR DCL                                                     3
OF JAT ISO PLTFS
OPP.wpd                                                                 CHART ATTACHED TO DECLARATION OF JAT
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                    1     DATED: July 2, 2010
                    2                                  Respectfully submitted,
                    3                                  BORTON PETRINI, LLP
                    4
                    5                                  By:       /s/ James J. Braze /s/ Jeffrey A. Travis
                                                             James J. Braze, Jeffrey A. Travis, Attorney for
                    6                                        Plaintiff/Appellee, Roger McIntosh dba McIntosh &
                                                             Associates
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McIntosh v.
Northern\CHART FOR DCL                                           4
OF JAT ISO PLTFS
OPP.wpd                                                       CHART ATTACHED TO DECLARATION OF JAT
                          Case 1:07-cv-01080-LJO-GSA Document 397-5 Filed 07/02/10 Page 5 of 5


                    1                                          PROOF OF SERVICE
                                                               (FRCP No. 5(b)(2)(E))
                    2
                                         STATE OF CALIFORNIA, COUNTY OF KERN
                    3                    I, Vanessa J. Claridge, declare:
                    4                    I am a citizen of the United States. I am employed in the County of Kern, State of
                                 California. I am over the age of 18 and not a party to the within action; my business address
                    5            is 5060 California Avenue, Suite 700, Bakersfield, California 93309.
                                         On July 2, 2010, I served the foregoing document described as CHART
                    6            ATTACHED TO DECLARATION OF JEFFREY A. TRAVIS IN SUPPORT OF
                                 OPPOSITION TO MOTION TO ALTER/AMEND on the other party(ies) in this action
                    7            as follows:
                    8     Steven John Hassing, Esq.                             Attorneys for Attorneys for Defendants,
                          Law Offices of Steven J. Hassing                      Northern California Universal Enterprises
                    9     425 Calabria Court                                    Company and Lotus Developments
                          Roseville, CA 95747                                   Tel: 916/677-1776
                  10      email address: stevehassing@yahoo.com                 Fax: 916/677-1770

                  11      Chaka Okadigbo, Esq.                                 Attorneys for Def./Appellant, City of Wasco
                          GCR, LLP
                  12      520 S. Grand Ave, Suite 695                          Tel: 213/347-0210
                          Los Angeles, CA 90071                                Fax: 213-347-0216
                  13      email address: cokadigbo@gcrlegal.com

                  14      Ann T. Schwing, Esq.                                 Attorneys for Def./Appellant, City of Wasco
                          McDonough Holland & Allen PC
                  15      500 Capitol Mall, 18th Floor                         Tel: 916/444-3900
                          Sacramento, CA 95814-4704                            Fax: 916/444-8334
                  16      email address:

                  17      William L. Alexander, Esq.                          Attorneys for Defendant, DeWalt CM, Inc.
                          Alexander & Associates
                  18      1925 "G" Street                                     Tel: 661/316-7888
                          Bakersfield, CA 93301                               Fax: 661/316-7890
                  19      email address: walexander@alexander-law.com
                          X      BY ELECTRONIC SERVICE: Pursuant to Fed. R. Civ. P. 5(b)(2)(E) and Local Court
                  20             Rule(s), the foregoing document will be served by the court via CM/ECF. Pursuant to the
                                 CM/ECF docket for this case proceeding the following person(s) are on the Electronic Mail
                  21             Notice List to receive ECF transmission at the email address(es) indicated below:

                  22      X      BY MAIL: As follows: I am "readily familiar" with the firm's practice of collection and
                                 processing correspondence for mailing. Under that practice it would be deposited with U.S.
                  23             postal service on that same day with postage thereon fully prepaid at , California in the
                                 ordinary course of business. I am aware that on motion of the party served, service is
                  24             presumed invalid if postal cancellation date or postage meter date is more than one day after
                                 date of deposit for mailing in affidavit.
                  25
                                         Executed on July 2, 2010, at Bakersfield, California.
                  26
                                       I declare that I am employed in the office of a member of the bar of this court at
                  27             whose direction the service was made.

                  28                     Vanessa J. Claridge                           /s/ Vanessa J. Claridge

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